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AO 458 (Rev. 01/09) Appearance



                                 United States District Court
                                                   for the

                   WESTERN                     DISTRICT OF                   OKLAHOMA


UNITED STATES OF AMERICA,                                     )
                                                              )
                             Plaintiff,                       )
                                                              )
                   -vs-                                       ) Case No: CR-22-357-F
                                                              )
ASCAR AMOS STILLEY,                                           )
                                                              )
                             Defendant.                       )

                                          APPEARANCE OF COUNSEL

To:      The Clerk of Court and all parties of record

         I am authorized to practice in this court, and I appear in this case as counsel for:

                                  the plaintiff, United States of America.

         I am registered to file documents electronically with this court.

Date: August 25, 2022                                 s/MATT DILLON
                                                      MATT DILLON
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                           CERTIFICATE OF SERVICE

              I hereby certify that on August 25, 2022, I electronically transmitted the
attached document to the Clerk of Court using the ECF System for filing and transmittal
of a Notice of Electronic Filing to the following ECF registrants: None at this time.

                                            s/MATT DILLON
                                            Assistant U.S. Attorney
